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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                               SOUTHEASTERN DIVISION

MICHAEL A. MCNAIR, SR.,                         )
                                                )
              Movant,                           )
                                                )
       v.                                       )           No. 1:20-cv-00261-SNLJ
                                                )
UNITED STATES OF AMERICA,                       )
                                                )
              Respondent.                       )

                               MEMORANDUM AND ORDER

       This matter comes before the Court on the motion of movant Michael A. McNair, Sr. for

an extension oftime in which to file his response to the Court's show cause order of December 10,

2020. (Docket No. 4). In support of the motion, movant's counsel states that he entered his

appearance on December 30, 2020, and requires additional time to file a response. Counsel for

movant requests an additional two weeks. Good cause being show, the motion will be granted.

       Accordingly,

       IT IS HEREBY ORDERED that movant's motion for an extension of time to file his

show cause response (Docket No. 4) is GRANTED.

       IT IS FURTHER ORDERED that movant shall have fourteen (14) days from the date

of this order in which to file a response to the Court's December 10, 2020 order to show cause.

       IT IS FURTHER ORDERED that failure to comply with this order will result in the

denial and dismissal of this motion without further proceedings and without further notice.

                  I l.J-k day of ti_ ..
       Dated this -    -        -,~==,=;,~-----·, 2021.

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                                             SENIOR UNITED STATES DISTRICT nJDGE
